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    EXHIBIT 11
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From:            Dell, Rebecca (USANYS)
To:              Swett, Sebastian (USANYS); Wikstrom, Derek (USANYS)
Cc:              Dell, Rebecca (USANYS)
Subject:         2024.07.30 Call with Vitaliy Romanovich
Date:            Tuesday, July 30, 2024 11:34:18 AM


2024.07.30 Call with Vitaliy Romanovich, Rebecca Dell, Sheb Swett, Derek Wikstrom, Mike
Maniscalco

       VR has done many searches; VR has a general recollection of the search of Fokin’s devices,
       such as remembering the terminal they were in; VR was present for the search, but he was
       not trained to use the machine that was used to conduct the extraction; James Croissette did
       the extraction
              Extraction has limited information, which results in an excel spreadsheet, which
              includes phone identifiers, call logs, SMS messages, maybe emails
              A full extraction would have taken hours or days
       EMR is used to document type of search that took place; it is internal documentation with
       limited information
       VR was the liaison with FBI and CBP
       VR was present because he speaks Russian, but he does not recall anything specific from
       review

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